           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION

                        CRIMINAL NO. 1:06CR260



UNITED STATES OF AMERICA                  )
                                          )
                                          )
                  VS.                     )            ORDER
                                          )
                                          )
OMAR EDUARDO MARTINEZ                     )
SANTACRUZ                                 )
                                          )


      THIS MATTER is before the Court on motion of defense counsel for

permission to file for an interim payment of counsel fees.

      For the reasons set forth in the motion and for cause shown,

      IT IS, THEREFORE, ORDERED that counsel’s motion is ALLOWED,

and John C. Hunter is hereby permitted to file an interim fee petition in this

matter.

                                      Signed: March 2, 2007




    Case 1:06-cr-00260-LHT-DLH    Document 31    Filed 03/02/07   Page 1 of 1
